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AQ 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 14-6366

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any} Barbara Jacobs d/b/a Rider University
was received by me on (tate) 11/25/2014

1 I personally served the summons on the individual at (place)

On (date) ; or

QI left the summons at the individual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

O I served the summons on (name of individual) , who is
designated by law to accept service of process on behalf of (name of organization)

on (date) ; or

(I I returned the summons unexecuted because 3; or

of Other (specify): I served Summons and Complaint on Barbara Jacobs d/b/a Rider University, 2083
P ' Lawrenceville Rd., Lawrenceville, NJ 08648 via U.S. certified mail (RR#
70100280000229604819) 11/20/2014. A copy is attached hereto.

My fees are $ for travel and $ for services, for a total of $ 0.00 .

I declare under penalty of perjury that this information is true.

Date: 1 S14 (aoe - rae)

Matthew B. Weisberg, Esq.

Printed name and title

Weisberg Law
7 S. Morton Ave,
Morton, PA 19070

Server's address

Additional information regarding attempted service, etc:
ID: 22
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! i Complete items 1, 2, and 3. Also com

item 4 if Restricted Delivery is desired

plete

@ Print your name and address on the reverse

so that we can return the Card to you.

@ Attach this card io the back of the mailpiece,

Or on the front if space permits,

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A. atyre pew

1, Article Addressed to:

Bar bare ta cobs

lela. Rider Univers} ah,

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Lowrénce ville NI Gg

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Ck

D. Is delivery address different from tem 1? Ed Yes
1 YES, enter delivery address below: C1 No

3, §yfics Type
Certified Mail C7 Express Mall
Cl Registered C Retum Recalpt for Merchandise
O insured Mall «=o C.O.D.

4. Restricted Delivery? (Extra Fee) 2 Yes

2. Article Number \

(transfer trom servcsiob,_? 040 O20 OOO2 ayn UBL

PS Form 3811, February 2004

SSS

Domestic Retum Receipt 102595-02-0-1540.
